 Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 1 of 9 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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DAVID MOORE,
                                                                      COMPLAINT
                                          Plaintiff,
                                                                      Jury Trial Demanded
                           -against-

CITY OF NEW YORK; Police Officer
DESHAWN EDMONDS, Shield No. 29310; and
JOHN and JANE DOE 1 through 10, individually
and in their official capacities (the names John and
Jane Doe being fictitious, as the true names are
presently unknown),
                                          Defendants.
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                                NATURE OF THE ACTION
        1.      This is an action to recover money damages arising out of the violation

of plaintiff’s rights under the Constitution.

                               JURISDICTION AND VENUE
        2.      This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the

Fourth, Fifth and Fourteenth Amendments to the Constitution of the United States.

        3.      The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331, 1343

and 1367(a).

        4.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and (c).

        5.      This Court has supplemental jurisdiction over the New York State

claims pursuant to 28 U.S.C. § 1367.
Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 2 of 9 PageID #: 2




                                  JURY DEMAND
      6.     Plaintiff demands a trial by jury in this action.

                                       PARTIES
      7.     Plaintiff David Moore (“plaintiff” or “Mr. Moore”) is a resident of Kings

County in the City and State of New York.

      8.     Defendant City of New York is a municipal corporation organized under

the laws of the State of New York. It operates the NYPD, a department or agency of

defendant City of New York responsible for the appointment, training, supervision,

promotion and discipline of police officers and supervisory police officers, including

the individually named defendants herein.

      9.     Defendant Police Officer DeShawn Edmonds, Shield No. 29310

(“Edmonds”), at all times relevant herein, was an officer, employee and agent of the

NYPD. Defendant Edmonds is sued in his individual and official capacities.

      10.    At all times relevant defendants John and Jane Doe 1 through 10 were

police officers, detectives or supervisors employed by the NYPD. Plaintiff does not

know the real names and shield numbers of defendants John and Jane Doe 1 through

10.

      11.    At all times relevant herein, defendants John and Jane Doe 1 through 10

were acting as agents, servants and employees of defendant City of New York and the



                                            2
Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 3 of 9 PageID #: 3




NYPD. Defendants John and Jane Doe 1 through 10 are sued in their individual and

official capacities.

       12.     At all times relevant herein, all individual defendants were acting under

color of state law.

                              STATEMENT OF FACTS
       13.     At approximately 11:00 p.m. on August 13, 2012, plaintiff was lawfully

riding his bicycle on Blake Avenue between Mother Gaston Boulevard and Rockaway

Boulevard in Brooklyn, New York.

       14.     Mr. Moore was riding toward his home when an officer approached him,

ordered him to get off of his bicycle and put his hands up.

       15.     Plaintiff complied and the defendant officer then searched him.

       16.     Plaintiff told the officer that he lived on Blake Avenue and was simply

trying to get home.

       17.     Defendant then searched plaintiff again and handcuffed him.

       18.     No contraband was recovered from plaintiff.

       19.     Without probable cause or reasonable suspicion to believe he had

committed any crime or offense, plaintiff was arrested.

       20.     Plaintiff was taken to a police precinct.

       21.     At the precinct the officers falsely informed employees of the Kings

County District Attorney’s Office that they had observed plaintiff obstruct

                                              3
Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 4 of 9 PageID #: 4




governmental administration and in possession of marijuana.

      22.       At no point did the officers observe plaintiff obstruct governmental

administration or possess marijuana.

      23.       Plaintiff was eventually taken to Brooklyn Central Booking.

      24.       On August 15, 2012, plaintiff was arraigned in Kings County Criminal

Court, where the criminal charges were adjourned in contemplation of dismissal.

      25.       After approximately forty hours in custody, plaintiff was released.

      26.       Within ninety days after the claim alleged in this Complaint arose, a

written notice of claim was served upon defendants at the Comptroller’s Office.

      27.       At least thirty days have elapsed since the service of the notice of claim,

and adjustment or payment of the claim has been neglected or refused.

      28.       This action has been commenced within one year and ninety days after

the happening of the events upon which the claims are based.

      29.       Plaintiff suffered damage as a result of defendants’ actions. Plaintiff was

deprived of his liberty, suffered emotional distress, mental anguish, fear, pain, bodily

injury, anxiety, embarrassment, humiliation, and damage to his reputation.

                                    FIRST CLAIM
                                Unlawful Stop and Search

      30.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

                                              4
Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 5 of 9 PageID #: 5




       31.    Defendants violated the Fourth and Fourteenth Amendments because

they stopped and searched plaintiff without reasonable suspicion.

       32.    As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages herein before alleged.

                                       SECOND CLAIM
                                         False Arrest

       33. Plaintiff repeats and realleges each and every allegation as if fully set
forth herein.

       34.    Defendants violated the Fourth and Fourteenth Amendments because

they arrested plaintiff without probable cause.

       35.     As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.

                                 THIRD CLAIM
                  State Law False Imprisonment and False Arrest

       36. Plaintiff repeats and realleges each and every allegation as if fully set
forth herein.

       37.    By their conduct, as described herein, the individual defendants are liable

to plaintiff for falsely imprisoning and falsely arresting plaintiff.

       38.    Plaintiff was conscious of his confinement.

       39.    Plaintiff did not consent to his confinement.

       40.    Plaintiff’s confinement was not otherwise privileged.

                                              5
 Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 6 of 9 PageID #: 6




        41.     Defendant City of New York, as an employer of the individual

defendant officers, is responsible for their wrongdoing under the doctrine of respondeat

superior.

        42.     As a direct and proximate result of the misconduct and abuse of

authority stated above, plaintiff sustained the damages alleged herein.

                                  FOURTH CLAIM
                                  Unreasonable Force

        43.     Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

        44.     The defendants violated the Fourth and Fourteenth Amendments

because they used unreasonable force on plaintiff.

        45.     As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.

                                    FIFTH CLAIM
                             State Law Assault and Battery

        46.     Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

        47.     By their conduct, as described herein, the defendants are liable to

plaintiff for having assaulted and battered him.




                                             6
 Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 7 of 9 PageID #: 7




        48.     Defendant City of New York, as an employer of the individual

defendant officers, is responsible for their wrongdoing under the doctrine of respondeat

superior.

        49.     As a direct and proximate result of the misconduct and abuse of

authority stated above, plaintiff sustained the damages alleged herein.

                                  SIXTH CLAIM
                     Denial Of Constitutional Right To Fair Trial


        50.     Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

        51.     The individual defendants created false evidence against plaintiff.

        52.     The individual defendants forwarded false evidence to prosecutors in the

Kings County District Attorney’s office.

        53.     In creating false evidence against plaintiff, and in forwarding false

information to prosecutors, the individual defendants violated plaintiff’s constitutional

right to a fair trial under the Due Process Clause of the Fifth and Fourteenth

Amendments of the United States Constitution.

        54.     As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.



                                              7
Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 8 of 9 PageID #: 8




      55.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.

                                  SEVENTH CLAIM
                                  Failure To Intervene

      56.       Plaintiff repeats and realleges each and every allegation as if fully set

forth herein.

      57.       Those defendants that were present but did not actively participate in the

aforementioned unlawful conduct observed such conduct, had an opportunity prevent

such conduct, had a duty to intervene and prevent such conduct and failed to

intervene.

      58.       Accordingly, the defendants who failed to intervene violated the First,

Fourth, Fifth And Fourteenth Amendments.

      59.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.




                                             8
Case 1:12-cv-05480-ILG-RLM Document 1 Filed 11/05/12 Page 9 of 9 PageID #: 9




                                 PRAYER FOR RELIEF

      WHEREFORE, plaintiff respectfully requests judgment against defendants as

follows:

      (a) Compensatory damages against all defendants, jointly and severally;

      (b) Punitive damages against the individual defendants, jointly and severally;

      (c) Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

      (d) Such other and further relief as this Court deems just and proper.


DATED:      November 5, 2012
            New York, New York
                                        HARVIS WRIGHT
                                        SALEEM & FETT LLP


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                                           9
